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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 In re:                                            Chapter 11

 HIGHLAND CAPITAL MANAGEMENT, L.P.                 Case No. 19-34054 (SGJ)

                              Debtor.




 JAMES DONDERO, HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS, L.P.,
  NEXPOINT ADVISORS, L.P., THE DUGABOY INVESTMENT TRUST, GET GOOD
 TRUST, and NEXPOINT REAL ESTATE PARTNERS, LLC, F/K/A HCRE PARTNERS,
     LLC, A DELAWARE LIMITED LIABILITY COMPANY’S MOTION FOR
       FINAL APPEALABLE ORDER AND SUPPLEMENT TO MOTION TO
         RECUSE PURSUANT TO 28 U.S.C. § 455 AND BRIEF IN SUPPORT

          Pursuant to 28 U.S.C. § 455 and FEDERAL RULE     OF   BANKRUPTCY PROCEDURE 5004,

Defendants James Dondero (“Mr. Dondero”), Highland Capital Management Fund Advisors, L.P.,

NexPoint Advisors, L.P., The Dugaboy Investment Trust, Get Good Trust, and NexPoint Real

Estate Partners, LLC, f/k/a HCRE Partners, LLC, a Delaware limited liability company

(collectively the “Affected Parties”) (Mr. Dondero and the Affected Parties are collectively

referred to herein as “Movants”) file this Motion for Final Appealable Order and Supplement to

Motion to Recuse Pursuant to 28 U.S.C. § 455 and Brief in Support and, in support thereof, would

respectfully show the Court as follows:
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1.         Movants previously sought to recuse the Presiding Judge (hereinafter, the “Court”) in this

bankruptcy proceeding (the “Bankruptcy”) (the “Original Recusal Motion”).1

2.         As detailed in the Original Recusal Motion, 28 U.S.C. § 455 requires a judge to be recused

if the judge “has a personal bias or prejudice concerning a party or personal knowledge of

disputed evidentiary facts concerning the proceeding,” or when the court’s “impartiality might

reasonably be questioned.”2 This is true, even where the judge does not actually have personal

bias or prejudice.3 The provisions of section 455 afford separate, overlapping grounds for

recusal.4

3.         “[Recusal] claims are fact-driven, and as a result, the analysis of a particular section

455(a) claim must be guided, not by a comparison to similar situations addressed by prior

jurisprudence, but rather by an independent examination of the unique facts and circumstances

of the particular claim at issue.”5 The test for recusal is not whether the judge believes he or she

is capable of impartiality or whether the judge possesses actual bias (or knows of grounds

requiring recusal).6 Instead, the test is whether the “‘average person on the street who knows all

the relevant facts of a case’” might reasonably question the judge’s impartiality.7 As Congress

recognized when enacting section 455, litigants “ought not have to face a judge where there is a


1
  The Original Recusal Motion and Brief in Support (see Bankr. Dkt. No. 2060-2061), along with all allegations and
arguments set forth therein, as well as all evidence referenced therein and attached thereto via Movants’ Appendix
(see Bankr. Dkt. No. 2062), are incorporated by reference into this Supplement as if fully set forth herein and attached
hereto. References to Exs. 1-30 and App’x. 0001-2719 refer to the exhibits included in the Appendix to the Original
Recusal Motion.
2
    28 U.S.C. § 455(a)-(b)(1).
3
  Liljeberg v. Health Servs. Acquisition Corp., 486 U.S. 847, 850 (2001); Andrade v. Chojnacki, 338 F.3d 448, 454
(5th Cir. 2003).
4
    Andrade, 338 F.3d at 454.
5
    Bankr. Dkt. No. 2083 at 6.
6
    See Burke v. Regolado, 935 F.3d 960, 1054 (10th Cir. 2019) (citations omitted); Liljeberg, 486 U.S. at 805.
7
    In re Kansas Pub. Employees Retirement Sys., 85 F.3d 1353, 1358 (8th Cir. 1996).
                                                            2
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reasonable question of impartiality.”8 At its core, this statutory provision was “designed to

promote public confidence in the impartiality of the judicial process.”9

4.         Importantly, litigants are entitled to a full and fair opportunity to make their case in an

impartial forum—regardless of their history with that forum.10 “Fundamental to the judiciary is

the public’s confidence in the impartiality of [its] judges and the proceedings over which they

preside.”11 Thus, “justice must satisfy the appearance of justice.”12 For this reason, the Fifth

Circuit has held that “[i]f the question of whether § 455(a) requires disqualification is a close

one, the balance tips in favor of recusal.”13 Although “[t]he judge can himself decide whether the

claim asserted is within § 455, if it is, then a disinterested judge must decide what the facts are.”14

5.         Notably, while “judicial rulings alone almost never constitute a valid basis for a bias or

partiality motion,” the Supreme Court has held that predispositions developed during the course

of a trial can suffice to demonstrate the requisite bias or prejudice if the opinions “reveal such a

high degree of favoritism or antagonism as to make fair judgment impossible.”15

6.         Here, the Court denied the Original Recusal Motion (the “Original Recusal Order”). On

appeal of the Original Recusal Order to the Northern District of Texas, Judge Kinkeade dismissed

the appeal, holding that the Original Recusal Order was non-final and non-appealable.16 In doing


8
    H. Rep. No. 1453, 93rd Cong., 2d Sess. 1 (1974), reprinted in 1974 U.S. Code Cong. & Admin. News 6351, 6355.
9
 In re Drexel Burnham Lambert Inc., 861 F.2d 1307, 1313 (2d Cir. 1988) (quoting H.R. Rep. No. 1453); Liljeberg,
486 U.S. at 859-60.
10
  Miller v. Sam Houston State Univ., 986 F.3d 880, 893 (5th Cir. 2021) (citing United States v. Jordan, 49 F.3d 152,
155 (5th Cir. 1995)).
11
     Id.
12
     Id. (quoting Offutt v. United States, 348 U.S. 11, 14 (1954)).
13
     In re Chevron U.S.A., Inc., 121 F.3d 163, 165 (5th Cir. 1997).
14
 In re Parson, No. 15-30080-BJH, 2018 WL 1452295, at *4 (Bankr. N.D. Tex. Mar. 22, 2018) (citing In Levitt v.
University of Texas, 847 F.2d 221, 226 (5th Cir. 1988)).
15
     Liteky v. United States, 510 U.S. 540, 555 (1994) (citation omitted) (emphasis added).
16
     See Ex. 34 (App’x. 2829-2842), Dkt. No. 39 in Cause No. 3:21-cv-00879-K, the Memorandum Opinion and Order,
                                                              3
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so, Judge Kinkeade pointed to language in the Court’s Original Recusal Order in which the Court

expressly “reserve[d] the right to amend or supplement” its ruling.17 Consequently, Movants have

never had their arguments for recusal substantively considered by any appellate court.

7.         Obtaining final appellate review of the Original Recusal Motion and Original Recusal

Order is important, not only because this Court continues to preside over the underlying

Bankruptcy proceedings, but also because there is a new, significant proceeding (that is in its

nascent stages), where it is imperative for Movants to get fair and unbiased treatment. In

particular, since the Court’s Original Recusal Order, Marc S. Kirschner, as Trustee for the

Litigation Sub-Trust (“Mr. Kirschner”), has filed a voluminous adversary proceeding against Mr.

Dondero and several of the Movants, in which Mr. Kirschner seeks hundreds of millions of

dollars of damages (the “Kirschner Litigation”).18 And the Court’s appearance of bias has not

dissipated in the wake of the Original Recusal Motion or Original Recusal Order.

8.         Therefore, to preserve their record for appeal and to ensure that all potential grounds for

recusal may be considered by an appellate court, Movants hereby supplement the Original

Recusal Motion with the following additional examples of actions taken and statements made by

the Court (several of which occurred following the filing of the Original Recusal Motion) to further

support the relief requested in the Original Recusal Motion:

           •    On June 10, 2021, after Movants moved to withdraw the reference, the Court sua sponte
                recommended that Debtor file fraudulent transfer claims, suggesting that those might
                affect the reference from being withdrawn.19


a true and correct courtesy copy of which is included in the Appendix to this Supplement.
17
     Id. at 2 (App’x. 2830); see also Bankr. Dkt. No. 2083 at 10-11.
18
  Many of the defendants in the Kirschner Litigation moved to withdraw the reference for the adversary proceeding.
This Court issued a Report and Recommendation in which it agreed the reference should be withdrawn for trial but
recommended that the Court retain the case for all pre-trial purposes. The moving defendants have objected to the
Court’s Report and Recommendation, and those objections remain pending before the District Court.
19
     Ex. 31 (App’x. 2720-2810), June 10, 2021 Hearing Transcript, at 81:5-16 (App’x. 2804) and 83:1-12 (App’x. 2802),
                                                            4
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           •    The Court refused to grant The Dugaboy Investment Trust’s motion to compel Debtor
                to file the “periodic financial reports of the value, operations, and profitability of each
                entity that is not a publicly traded corporation or debtor . . . in which the estate holds a
                substantial or controlling interest” as required by Fed. R. Bankr. P. 2015.3(a).20 The
                Court raised concerns that the statutorily required information might be used to “cobble
                together a new adversary alleging mismanagement” against Debtor21 and did not grant
                the motion because, among other things, it would be unduly burdensome.22

           •    The Court entered a sua sponte order questioning Movants’ standing to object to
                various settlements and actions involved in the handling of the Estate.23 The Court
                ordered any party it perceives to be related to Mr. Dondero (in some instances, despite
                evidence that no such relationship exists) to disclose: (1) its ownership structure, (2)
                Mr. Dondero’s ownership interest, (3) its managers, officers, and directors, and (4) the
                basis for the entity’s assertion of its status as a creditor with standing.24

           •    The Court ruled that Highland Capital Management, L.P. (“HCMLP”) was not required
                to comply with 11 U.S.C. § 363, even when the transaction at issue involved the sale
                of a subsidiary. Concurrently, the Court denied Mr. Dondero’s request for notice of
                major, outside-the-ordinary course sales of assets by HCMLP.25

           •    The Court failed to require any reporting by HCMLP or its management during the
                course of the Bankruptcy, effectively obfuscating the public’s ability to ascertain the
                value of the Estate and fatally undermining public accountability.26


a true and correct copy of which is included in the Appendix to this Supplement.
20
     Id. at 49:12-14 (App’x. 2768).
21
     Id. at 46:11-13 (App’x. 2765).
22
     Id. at 49:12-51:3 (App’x. 2768-2770).
23
  See Ex. 33 (App’x. 2816-2828), the June 17, 2021 Order, at p. 1 (App’x. 2816), a true and correct copy of which is
included in the Appendix to this Supplement (“This Order is issued by the court sua sponte pursuant to Section 105
of the Bankruptcy Code and the court’s inherent ability to efficiently monitor its docket and evaluate the standing of
parties who ask for relief in the above referenced case. More specifically, the Order is directed at clarifying the party-
in-interest status or standing of numerous parties who are regularly filing pleadings in the above-referenced 20-month-
old Chapter 11 bankruptcy case.”); see also Ex. 38 (App’x. 3045-3049), January 14, 2021 Hearing Transcript at 22:24-
24:12 (App’x. 3046-3048), a true and correct copy of which is included in the Appendix to this Supplement.
24
  Ex. 31 (App’x. 2720-2810), June 10, 2021 Hearing Transcript and Ex. 33 (App’x. 2816-2828), the June 17, 2021
Order at 12-13 (App’x. 2827-2828).
25
  Ex. 32 (App’x. 2811-2815), Dec. 10, 2020 Hearing Transcript at 36:1-37:21 (App’x. 2813-2814) and 57:1-15
(App’x. 2815), a true and correct copy of which is included in the Appendix to this Supplement.
26
  Ex. 26 (App’x. 2441-2697), Feb. 3, 2021 Hearing Transcript at 49:5-24 (App’x. 2489); see also Bankr. Dkt. No.
2812. Indeed, lack of transparency pervading the HCMLP bankruptcy proceedings prompted counsel for The Dugaboy
Investment Trust and counsel for Highland Capital Management Fund Advisors, L.P. and NexPoint Advisors, L.P. to
write to the Executive Office of the United States Trustee detailing the resulting significant problems. See Exs. 35-37
(App’x. 2843-3044), Letters dated May 19, 2022 (App’x. 2843-2924), November 3, 2021 (App’x. 2925-3013), and
                                                            5
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            •     The Court enjoined non-parties from communicating with Mr. Dondero. When the non-
                  parties’ counsel later objected to this order as improper, the Court enjoined Mr.
                  Dondero from communicating with non-parties in direct violation of his First
                  Amendment rights.27

            •     The Court held Mr. Dondero in contempt for actions taken in the Bankruptcy by CLO
                  Holdco, while at the same time acknowledging that Mr. Dondero is not an agent of
                  CLO Holdco.28 The Court justified its order by generically commenting that Mr.
                  Dondero “sparked the fire.”29 Despite the fact that the invoices submitted by HCMLP’s
                  counsel show that it only incurred $38,796.50 in connection with the civil contempt
                  motion, the Court ordered the DAF, CLO Holdco, Sbaiti & Co. (including Mazin Sbaiti
                  and Jonathan Bridges individually), Mark Patrick, and Mr. Dondero to pay $239,655
                  to HCMLP as a result of their contempt.30 Worse still, the Court tacked on an additional
                  monetary sanction of $100,000 to be paid by any individual or entity that chose to
                  appeal the Court’s sanction order.31

            •     The Court approved a liquidating plan of reorganization even though: (1) the actual
                  evidence demonstrates that HCMLP is and always has been solvent; (2) the only reason
                  for HCMLP’s bankruptcy filing was to restructure a single judgment debt; and (3) Mr.
                  Dondero made multiple offers in the Bankruptcy to settle the Estate by paying 100%
                  to creditors.

            •     The Court ordered that Mr. Dondero and his sister Nancy Dondero (but no other party)
                  attend all hearings in the Bankruptcy, regardless of whether their presence is needed or
                  if they are taking a position on the matter at issue in the hearing.32

            •     The Court ordered that a gatekeeping injunction would apply even to cases over which
                  the Court does not have jurisdiction and over which the Court would not preside, based
                  on the Court’s conclusion that Mr. Dondero is a “vexatious litigant” (and despite its
                  earlier decision not to make such a finding).33

            •     The Court has continually—and incorrectly—insisted that various entities represented
                  by independent counsel are “controlled by” by Mr. Dondero, going so far as to

May 11, 2022 (App’x. 3014-3044), true and correct copies of which are included in the Appendix to this Supplement.
27
     Ex. 8 (App’x. 0785-0989), Jan. 8, 2021 Hearing Transcript, e.g., at 164:3-195:12 (App’x. 0948-0979).
28
     Bankr. Dkt. 2660 at 20 n.71.
29
     Id. at 21.
30
     See id. at 28-30.
31
     Id. at 30.
32
  Ex. 39 (App’x. 3050-3054), May 20, 2021 Hearing Transcript at 20:19-21:14 (App’x. 3051-3052), a true and correct
copy of which is included in the Appendix to this Supplement.
33
  Ex. 41 (App’x. 3068-3070), June 25, 2021 Hearing Transcript at 109 (App’x. 3069), a true and correct copy of
which is included in the Appendix to this Supplement.

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             discourage these entities from separately participating in the litigation and suggesting
             that they should prove to the Court that they require their own counsel.34

         •   When Mr. Dondero moved to compel Debtor’s deposition testimony, the Court deemed
             that there was an ulterior motive of “antagonism” behind Mr. Dondero’s request.35 The
             statement illustrates how the Court views routine litigation steps by Mr. Dondero, like
             discovery motions, not as a normal part of defending an adversary proceeding, but
             rather, as a nefarious “antagonistic move.”

         •   In its latest ruling from the bench, in response to allegations in a separate Texas state-
             court lawsuit by Mr. Ellington (HCMLP’s former General Counsel and a co-defendant
             with Mr. Dondero in the Kirscher Litigation), in which Mr. Ellington alleges that he
             and his family had been repeatedly stalked by former HCMLP employee Pat
             Daugherty, the Court took an unsubstantiated position that stalking statutes do not
             protect men: “Now, I have read the lawsuit and I have read that Mr. Ellington accuses
             Mr. Daugherty of driving by his father’s house, driving by his sister’s house, driving
             by his office, 143 sightings, he’s taking pictures. If – I don’t even know what to say
             except this is embarrassing. One grown man accusing another grown man of stalking.
             Okay? A statute, by the way, that was designed to protect, you know, ex-wives,
             girlfriends, battered women, from abusive men. You know, gender doesn’t matter, but
             wow. It’s just – I don’t know what to say except people should be embarrassed, so
             that’s what I’m going to say.”36 The statutes invoked in that lawsuit do not contain any
             exclusion based on gender and protect men who are being stalked as equally as women.

9.       As set forth in the Original Recusal Motion, “a fair trial in a fair tribunal is a basic




34
  Ex. 40 (App’x. 3055-3067), May 10, 2021 Hearing Transcript at 44:12-54:10 (App’x. 3056-3067), a true and correct
copy of which is a included in the Appendix to this Supplement (“As you all know, there are so many law firms, so
many lawyers involved now that are basically singing the same tune at a lot of these hearings as far as objections, me
too, me too, me too …. But I do very much have the impression, Mr. Dondero, that all roads lead back to you ….
And I am leaning towards requiring information to be filed of who owns what, who are the stakeholders. That’ll help
me understand, is it necessary to have this entity filing a separate objection or motion from this other entity or not?
…. Well, if you don’t figure out a way to rein it in, then I’m just going to have to get that list of who are the
stakeholders in these entities, under oath, because I don't understand it. I don’t understand why we need these many
lawyers filing position papers.”); Adv. Dkt. No. 151 at 5 (“The causes of action all arise from pre-confirmation
conduct allegedly perpetrated by Highland’s founder James Dondero and individuals and entities affiliated with him,
which purportedly resulted in hundreds of millions of dollars in damages to Highland. It appears that all of the
Defendants are owned, controlled, or related to Mr. Dondero, although some of the Defendants dispute this
characterization.”).
35
  Ex. 39 (App’x. 3050-3054), May 20, 2021 Hearing Transcript at 34:3-9 (App’x. 3053) (“I mean I want to stress that
this comes against a backdrop of — well, it seems like some antagonism, to say the least, on the part of Mr. Dondero
where Mr. Seery’s concerned. It seems like it’s always a fight with Mr. Seery. And you say, well, we didn't handpick
him as the 30(b)(6) witness, but, you know, the motion to compel names him by name. It just — it feels like another
antagonistic move.”) (emphasis added).
 Ex. 42 (App’x. 3071-3073), Mar. 1, 2022 Hearing Transcript at 83:12-23 (App’x. 3072), a true and correct copy of
36

which is included in the Appendix to this Supplement.
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requirement of due process.”37 The Court’s negative opinions of Mr. Dondero reveal a high

degree of antagonism, which makes it nearly impossible for Mr. Dondero and the Affected Parties

to fully defend themselves and assert their rights in this forum, including against claims filed

against Mr. Dondero and several of the Movants in the Kirschner Litigation. At a minimum, that

is the perception that has been created.38

10.        The Movants thus file this Motion for Final Appealable Order and Supplement to Motion

to Recuse Pursuant to 28 U.S.C. § 455 and Brief in Support. In doing so, Movants respectfully

request the Court, after considering the Original Recusal Motion and this Supplement thereto, enter

a final, appealable order on this issue.

             Dated: July 19, 2022                              Respectfully submitted,

                                                               CRAWFORD, WISHNEW & LANG PLLC

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37
  Caperton v. A.T. Massey Coal Co., 556 U.S. 868, 877 (2009) (internal quotation marks and citation omitted); see
also Johnson v. Mississippi, 403 U.S. 212, 216 (1971) (per curiam) (“Trial before ‘an unbiased judge’ is essential to
due process.”) (quoting Bloom v. Illinois, 391 U.S. 194, 205 (1968)); Miller v. Sam Houston State Univ., 986 F.3d
880, 893 (5th Cir. 2021) (citing United States v. Jordan, 49 F.3d 152, 155 (5th Cir. 1995)).
38
     Liteky, 510 U.S. at 551; In re Kansas Pub. Employees Retirement Sys., 85 F.3d 1353, 1358 (8th Cir. 1996).
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that, on July 19, 2022, a true and correct copy of the above and

foregoing document was served on all parties and counsel set to receive notice by the Court’s ECF

system.

                                                   /s/ Michael J. Lang
                                                   Michael J. Lang




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